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     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17
                     IN THE UNITED STATES DISTRICT COURT
18                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
19
     MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and             )
     CERCACOR LABORATORIES, INC.,            ) MASIMO’S RESPONSE TO APPLE’S
21   a Delaware corporation                  ) NOTICE OF AMENDED DIRECT
                                             ) TESTIMONY OF SHIRLEY
22                Plaintiffs,                ) WEBSTER
                                             )
23         v.                                )
                                             )
24   APPLE INC., a California corporation    ) Hon. James V. Selna
                                             )
25                Defendant.                 )
                                             )
26                                           )
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1          On Sunday November 10, 2024, Apple filed a Notice of Amended Direct
2    Testimony of Shirley Webster. Dkt. 2315. In that filing, Apple represented to the Court
3    that it was removing paragraph 70 from Ms. Webster’s direct testimony declaration.
4    Apple also represented that “Plaintiffs have agreed to withdraw all other objections to
5    Ms. Webster’s Amended Direct Testimony.” Id.
6          Apple’s Notice did not inform the Court of the following:
7          (1)   Portions of Ms. Webster’s Amended Direct Testimony (Paragraphs 28, 36,
8                and 67-69) rely on and cite to the direct testimony declaration of Apple’s
9                Corporate Representative, Ms. Deidre Caldbeck.
10         (2)   Masimo’s agreement on Ms. Webster was based on the understanding that
11               Ms. Caldbeck would testify at this trial and that Masimo would have the
12               opportunity to cross-examine her.
13         (3)   After Masimo agreed to withdraw certain objections on the remainder of
14               Ms. Webster, Apple then withdrew Ms. Caldbeck’s testimony and
15               confirmed she will not testify in this case.
16         On Sunday November 10, when Apple notified Masimo that it was withdrawing
17   Ms. Caldbeck’s direct testimony, Masimo asked Apple to promptly confirm that Apple
18   would also withdraw Paragraphs 28, 36, and 67-69 of the Amended Direct Testimony
19   of Shirley Webster. Apple has not provided that confirmation.
20         Paragraphs 28, 36, and 67-69 of Webster rely on and cite to the withdrawn
21   testimony from Ms. Caldbeck. Moreover, paragraphs 67-69 of Webster include new
22   material from Ms. Caldbeck that Apple did not disclose during fact discovery and did
23   not include in Webster’s expert report. The Court should strike those paragraphs.
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1                                        Respectfully submitted,
2                                        KNOBBE, MARTENS, OLSON & BEAR, LLP
3
4    Dated: November 11, 2024            By: /s/ Sheila N. Swaroop
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7                                             Brian C. Claassen
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10
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12                                               CERCACOR LABORATORIES, INC.
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